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                                                            1   Richard D. Marca, State Bar #127365
                                                                Richard.Marca@varnerbrandt.com
                                                            2   Matthew B. Neufeld, State Bar #322058
                                                                Matthew.Neufeld@varnerbrandt.com
                                                            3   VARNER & BRANDT LLP
                                                                3750 University Avenue, Suite 610
                                                            4   Riverside, California 92501
                                                                Telephone: (951) 274-7777
                                                            5   Facsimile: (951) 274-7770
                                                            6   Attorneys for Defendant,
                                                                STATER BROS. MARKETS, a
                                                            7   California Corporation (erroneously
                                                                sued as Stater Bros. Markets)
                                                            8
                                                                                        UNITED STATES DISTRICT COURT
                                                            9
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                                                                              FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                                Kandi Cook-Toole,                       ) Case No. 5:23-CV-01457-KK-KS
                      3750 University Avenue, Suite 610




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                                                                                                        )
                         Riverside, California 92501




                                                           12                      Plaintiff,
Varner & Brandt LLP




                                                                                                        )
                                                           13           v.                              ) ORDER GRANTING JOINT
                                (951) 274-7777




                                                                                                        ) STIPULATION FOR DISMISSAL
                                                           14   Stater Bros. Markets,                   ) PURSUANT TO FEDERAL RULE
                                                           15                                           ) OF CIVIL PROCEDURE 41(a)(1)
                                                           16                      Defendant.           ) (A)(ii)
                                                                                                        )
                                                           17                                           )
                                                           18                                           ) Complaint Filed: July 25, 2023
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                                                                         ORDER GRANTING JOINT STIPULATION FOR DISMISSAL
                                                                      PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)
                                                                                               (ii)
                                                          Case 5:23-cv-01457-KK-KS Document 32 Filed 04/30/24 Page 2 of 2 Page ID #:129




                                                            1                                          ORDER
                                                            2           Having considered the Joint Stipulation for Dismissal pursuant to Federal
                                                            3   Rule of Civil Procedure 41(a)(1)(A)(ii), and good cause appearing, the Court orders
                                                            4   that:
                                                            5           1.    The Parties’ joint stipulation is approved; and
                                                            6           2.    The entire action is hereby dismissed with prejudice.
                                                            7
                                                            8   IT IS SO ORDERED.
                                                            9
                                                                       April 30, 2024
                                                                Date: ___________                _______________________________________
                                                           10
                                                                                                 HON. KENLY KIYA KATO
                      3750 University Avenue, Suite 610




                                                           11                                    UNITED STATES DISTRICT COURT JUDGE
                         Riverside, California 92501




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Varner & Brandt LLP




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                                (951) 274-7777




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                                                                     ORDER GRANTING JOINT STIPULATION FOR DISMISSAL
                                                                  PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)
                                                                                           (ii)
